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 8                       IN THE UNITED STATES DISTRICT COURT FOR THE

 9                                EASTERN DISTRICT OF CALIFORNIA

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11   UNITED STATES OF AMERICA,                      )       NO. 1:06-cr-00363-AWI
                                                    )
12                          Plaintiff,              )
                                                    )
13                  v.                              )       STIPULATION TO CONTINUE
                                                    )       BRIEFING AND HEARING ON MOTION
14   ALDOLFO MAGANA, ET AL.,                        )       AND ORDER THEREON
                                                    )
15                          Defendants.             )
                                                    )
16

17          IT IS HEREBY STIPULATED by and between the parties hereto, and through their

18   respective counsel, that the supplemental briefing on the issue of the confidential informant

19   currently due June 18, 2007 not be submitted to the court at this time. The parties further request

20   that the court continue the hearing on the motion for disclosure of the confidential informant to a

21   date to be determined at the status conference currently set for June 25, 2007, at 9:00 a.m. The

22   parties are requesting that the status conference date of June 25, 2007 at 9:00 a.m. remain on

23   calendar.

24          Counsel for the government is attempting to procure certain materials requested by the

25   defense but due to scheduling issues and work load, has been unable to do so. Additionally, the

26   parties are attempting to resolve the matter and the government needs additional time to formulate

27   an offer. The government anticipates making an offer to the defendants on or before the status

28   conference date of June 25, 2007.

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 1          The parties agree that the delay resulting from the continuance of the motion for informant

 2   disclosure shall be excluded in the interests of justice, including but not limited to, the need for the

 3   period of time set forth herein for effective defense preparation, and continuity of counsel

 4   pursuant to 18 U.S.C. §§3161(h)(1)(F) and 3161(h)(8)(A).

 5   Dated: June 14, 2007                                           McGREGOR W. SCOTT
                                                                    United States Attorney
 6

 7                                                                  By: /s/ Laurel J. Montoya
                                                                    LAUREL J. MONTOYA
 8                                                                  Assistant U.S. Attorney

 9   Dated: June 14, 2007                                           /s/ Ann H. Voris
                                                                    ANN H. VORIS
10                                                                  Attorney for the Defendant Magana

11   Dated: June 14, 2007                                           /s/ Robert Forkner
                                                                    ROBERT FORKNER
12                                                                  Attorney for Defendant Andrade

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14                                ORDER CONTINUING HEARING DATE

15          IT IS SO ORDERED. Time is excluded in the interests of justice pursuant to 18 U.S.C. §§

16   3161(h)(1)(F) and 3161(h)(8)(A).

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18   IT IS SO ORDERED.

19   Dated:     June 15, 2007                            /s/ Anthony W. Ishii
     0m8i78                                        UNITED STATES DISTRICT JUDGE
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